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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

    THE STATE OF ARIZONA,
    By and through its Attorney General, Mark
    Bmovich, et al.,


                                         PLADSTTIFFS,


    V.




    CENTERS FOR DISEASE CONTROL &                       CIVIL ACTION No. 6:22-cv-00885-RRS-CBW
    PREVENTION; et al.,

                                      DEFENDANTS.




                                                   ORDER

           The Plaintiff States' and Federal Defendants5 stipulation regarding scheduling and briefing is


   APPROVED. Briefing on the Pkindff States3 modon for a ptelitninary injunction shall be as foUows:

           Friday, April 29, 2022: Federal Defendants' opposition brief, not to exceed 45 pages,


                                          absent relief from this Court, is due. Federal Defendants shall


                                          also produce the administcadve record with their opposition


                                          brief.

           Monday, May 9, 2002: Plaintiff States3 reply brief, not to exceed 25 pages, absent


                                          relief from this Court, is due at 10am CST.



   A hearing on the Motion for Preliminary Injunction will be held on Friday, May 13, 2022 at 10:00 a.m.



         SO ORDERED.


   Dated: April 20, 2022




                                                               ROBERT R. SUMMERHAYS
                                                           UNITED STATES DISTRICT JUDGE
